             Case 5:17-cv-01034-M Document 1 Filed 09/28/17 Page 1 of 4



                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

 AVATAR MEHER BABA
 HEARTLAND CENTER, INC., an
 Oklahoma non-profit corporation,
                                                               CIV-17-1034-M
                                                          No. _______________
                       Plaintiff,
                                                    State Court Case No. CJ-2017-5010
 v.
                                                    District Court of Oklahoma County
 STATE FARM FIRE & CASUALTY
 COMPANY, an Illinois corporation,

                       Defendant.


                                    NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Fire and

Casualty Company, (“State Farm”) hereby removes this action from the District Court of
Oklahoma County, Oklahoma, where it was filed as Case No. CJ-2017-5010, to the
United States District Court for the Western District of Oklahoma. As the grounds for
removal, State Farm states as follows:

      1. On September 5, 2017, Plaintiff Avatar Meher Baba Heartland Center, Inc.,
commenced an action against Defendant State Farm in the District Court of Oklahoma
County, in the State of Oklahoma, titled Avatar Meher Baba Heartland Center, Inc. v.

State Farm Fire & Casualty Company, Case No. CJ-2017-5010 (the “State Court
Action”).

      2. State Farm is filing this notice of removal within the 30-day period provided by
28 U.S.C. § 1446(b).




{1744071;}
             Case 5:17-cv-01034-M Document 1 Filed 09/28/17 Page 2 of 4




      3. Pursuant to 28 U.S.C. § 1446(a) and Local Rule LCvR 81.2, State Farm has
attached as exhibits to this Notice of Removal true and legible copies of all documents

filed or served in the State Court Action. A copy of the Docket Sheet from the State
Court Action is attached as Exhibit 1. A copy of the Petition, filed September 5, 2017, is
attached as Exhibit 2. At the time of filing this Notice of Removal there have been no
other filings or proceedings in the State Court Action except that attached as Exhibit 2.

                                    Diversity Jurisdiction
      4. Plaintiff is an Oklahoma non-profit corporation. Ex. 2.

      5. State Farm is and was at the time of filing the Petition a citizen of Illinois. See 28
U.S.C. § 1332(c) (“For the purposes of this section and section 1441 of this title…a

corporation shall be deemed a citizen of every State and foreign state by which it has
been incorporated and the State or foreign state where it has its principal place of
business….”). State Farm is a corporation incorporated under the laws of Illinois with its
principal place of business in Bloomington, Illinois. Thus, there is complete diversity of
citizenship between the Plaintiffs and Defendant.

      6. Plaintiffs further allege that their actual damages exceed $75,000.00. See Ex. 2,
Pet., ¶¶ 8, 11.

      7. Accordingly, the requirements for diversity jurisdiction are satisfied.




{1744071;}                                     2
             Case 5:17-cv-01034-M Document 1 Filed 09/28/17 Page 3 of 4



                                      Venue and Notice
      8. Venue is appropriate in this Court, as this Court is in the district in which the
State Court Action was pending.

      9. Written notice of the filing of this Notice of Removal will be given promptly to
Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk of the
Oklahoma County District Court, as required by 28 U.S.C. § 1446(d).

      Accordingly, State Farm removes all claims in the State Court Action from the
District Court for Oklahoma County, Oklahoma, to the United States District Court for
the Western District of Oklahoma.


 Dated: September 28, 2017                      Respectfully submitted,

                                                s/ Mia Vahlberg
                                                Mia Vahlberg, OBA No. 20357
                                                Katherine McDonald, OBA No. 32064
                                                GABLEGOTWALS
                                                1100 ONEOK Plaza
                                                100 West Fifth Street
                                                Tulsa, Oklahoma 74103
                                                Telephone (918) 595-4800
                                                Facsimile (918) 595-4990
                                                 mvahlberg@gablelaw.com
                                                kmcdonald@gablelaw.com


                                                Jeff Curran, OBA No. 12255
                                                GABLEGOTWALS
                                                One Leadership Square, 15th Floor
                                                211 North Robinson
                                                Oklahoma City, OK 73102-7101
                                                (405) 235-5500 | (405) 235-2875 (fax)
                                                 jcurran@gablelaw.com

                                                COUNSEL FOR DEFENDANT
                                                STATE FARM FIRE AND CASUALTY CO.




{1744071;}                                     3
             Case 5:17-cv-01034-M Document 1 Filed 09/28/17 Page 4 of 4



                            CERTIFICATE OF MAILING

   I do hereby certify that on September 28, 2017, a true, correct and exact copy of the
NOTICE OF REMOVAL was served by U.S. first class mail to those parties listed below:

 Daniel P. Sparks, Vice President
 AVATAR MEHER BABA
  HEARTLAND CENTER, INC.
 NBU 7804, 1319 Barta
 Prague, OK 74864
 PRO SE PLAINTIFF

                                             s/Mia Vahlberg
                                             Mia Vahlberg




{1744071;}                                  4
